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 5
     Attorneys for Defendant
 6   EXPERIAN INFORMATION SOLUTIONS, INC.
 7

 8                                   UNITED STATES DISTRICT COURT
 9                              NORTHERN DISTRICT OF CALIFORNIA
10   MADELINE RICE,                                      Case No. 4:16-cv-06349-KAW
11                      Plaintiff,                       Assigned to: Judge Kandis A. Westmore
12           v.                                          JOINT STIPULATION AND
                                                         [PROPOSED] ORDER FOR
13   EXPERIAN INFORMATION SOLUTIONS,                     EXTENSION OF TIME TO RESPOND
     INC.; ET AL.,                                       TO COMPLAINT
14
                        Defendants.
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             On November 1, 2016, Plaintiff Madeline Rice (“Rice”), filed a Complaint in this action,
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     one of many Complaints filed by Plaintiff’s counsel on the same day. Given the number of
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     Complaints requiring a response from Experian at the same time, and in accordance with Local
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     Rule 6-1(a), Rice and Experian have agreed to an extension for Experian to answer or otherwise
22
     respond to the Complaint to January 24, 2017. To the extent that Experian files a motion to
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     dismiss in this case, for the same considerations, Experian agrees that Plaintiff shall have 30 days
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     to respond. Experian will thereupon have 21 days for any reply.
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             Accordingly, IT IS HEREBY STIPULATED by and between Rice and Experian, that the
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     deadline for Experian to answer or otherwise respond to the Complaint is extended until
27
     January 24, 2017, Plaintiff’s deadline to respond to any motion to dismiss is extended to 30 days
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                                                                           JOINT STIPULATION FOR EXTENSION
     NAI-1502265181v1                                                     OF TIME TO RESPOND TO COMPLAINT
                                                                                     Case No. 4:16-cv-06349-KAW
        Case 4:16-cv-06349-JSW Document 11 Filed 11/28/16 Page 2 of 3



 1   from filing, and Experian’s deadline to reply in support of a motion to dismiss is extended to 21
 2   days from filing the opposition.
 3

 4   Dated: November 23, 2016                       /s/ Elliot W. Gale
                                                    Elliot W. Gale (SBN 263326)
 5                                                  SAGARIA LAW, P.C.
                                                    2033 Gateway Place, 5th Floor
 6                                                  San Jose, CA 95110
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 7                                                  Fax: (408) 279-2299
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 8
                                                    Attorneys for Plaintiff
 9                                                  Madeline Rice
10

11   Dated: November 23, 2016                       /s/ Heather N. Fugitt
                                                    Heather N. Fugitt (State Bar No.261588)
12                                                  JONES DAY
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14                                                  Fax: (650) 739-3900
                                                    Email: hfugitt@jonesday.com
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16                                                  Attorneys for Defendant
                                                    Experian Information Solutions, Inc.
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                                         ECF CERTIFICATION
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             I, Heather N. Fugitt, hereby attest pursuant to N.D. Cal. General Order No. 45 that the
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     concurrence to the filing of this document has been obtained from each signatory hereto.
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             Executed this 23rd day of November, 2016, at Palo Alto, California.
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22
                                                    /s/ Heather N. Fugitt
23                                                  Heather N. Fugitt (State Bar No. 261588)
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27                                                  Attorneys for Defendant
                                                    Experian Information Solutions, Inc.
28
                                                                           JOINT STIPULATION FOR EXTENSION
     NAI-1502265181v1                                                     OF TIME TO RESPOND TO COMPLAINT
                                                    -2-                              Case No. 4:16-cv-06349-KAW
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 1                                        [PROPOSED] ORDER
 2           The Court, having considered the parties’ Joint Stipulation for Extension of Time to
 3   Respond to the Complaint, hereby Extend Experian Information Solutions, Inc. deadline to
 4   answer or otherwise respond to the Complaint to January 24, 2017.
 5   PURSUANT TO THE STIPULATION, IT IS SO ORDERED.
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 7               11/28/16
     DATED: ____________________________
 8
                                                    The Honorable Kandis A. Westmore
 9                                                  United States Magistrate Judge
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                                                                        JOINT STIPULATION FOR EXTENSION
     NAI-1502265181v1                                                  OF TIME TO RESPOND TO COMPLAINT
                                                                                  Case No. 4:16-cv-06349-KAW
